Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 1 of 24




                 EXHIBIT A
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 2 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 3 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 4 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 5 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 6 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 7 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 8 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 9 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 10 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 11 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 12 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 13 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 14 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 15 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 16 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 17 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 18 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 19 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 20 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 21 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 22 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 23 of 24
Case 4:20-cv-07428-YGR Document 1-1 Filed 10/22/20 Page 24 of 24
